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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

 LUCAS G. BURGER,

        Plaintiff,
                                                                   Hon. Robert J. Jonker
 v.
                                                                   Case No. 1:22-cv-179
 ALLIED COLLECTION SERVICES, INC.,

        Defendant.
 ________________________________/

                                   ENTRY OF DEFAULT

               It appearing from the files and records that affidavit for default has been duly

filed and that defendant(s) Allied Collection Services, Inc. failed to plead or otherwise

defend as required by the Federal Rules of Civil Procedure.

               NOW THEREFORE, on affidavit of counsel for plaintiff(s) and in accordance

with the rules of this court, default is hereby entered against defendant(s) Allied Collection

Services, Inc. according to Rule 55(a) of the Federal Rules of Civil Procedure.


                                                   CLERK OF COURT

                                                   /s/ M. Garcia

Date: May 17, 2022                                 By: Deputy Clerk
